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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP,                        Master Docket: No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LIABILITY                        MDL No. 3014
LITIGATION

This Document Relates to:

All Personal Injury and Medical Monitoring
Cases


         JOINT MOTION FOR ENTRY OF AMENDED SCHEDULING ORDER
                    REVISING CERTAIN DEADLINES FOR
          THE PERSONAL INJURY AND MEDICAL MONITORING TRACKS

       Plaintiffs and Defendants, through their undersigned counsel, jointly move the Court to

enter the attached proposed scheduling order extending the remaining deadlines for the personal

injury and medical monitoring tracks (see ECF No. 2355) by 60 days. To date, the Parties have

taken more than 40 depositions (including of third parties), over 2 million documents have been

produced, and discovery is very far along. However, a number of additional depositions need to

take place prior to the existing April 30, 2024 close of general causation fact discovery—including,

in particular, depositions of more than 35 medical monitoring plaintiffs. In addition, a number of

additional depositions, and potentially additional document productions, need to happen prior to

the July 30, 2024 close of all fact discovery. The Parties are continuing to meet and confer

cooperatively to schedule these depositions and resolve any outstanding issues, but a brief

extension of 60 days should allow the remaining discovery to take place while minimizing the risk

of escalating unnecessary discovery disputes to Special Master Katz and even potentially the

Court. Finally, in light of Special Master Katz’s recent Report and Recommendation (ECF No.
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2708), and assuming the Court adopts it, the proposed amended deadlines would afford additional

time for SoClean and DWHP to participate in discovery proceedings in this MDL.

       For these reasons, the Parties respectfully submit that good cause exists for a modest

extension to the existing deadlines, and respectfully request that the Court enter the proposed

amended scheduling order.




 Dated: April 12, 2024                            Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 12, 2024, the foregoing document was electronically filed

with the Clerk of the Court on served upon counsel of record through the Court’s ECF system.


                                                    /s/ John P. Lavelle, Jr.
                                                    John P. Lavelle, Jr.
